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 116598-7
                                    U.S. DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:24-cv-60705-AHS


  TURNKEY ASSET MANAGEMENT &
  MAINTENANCE, INC.,

          Plaintiff,

  v.

  SAFEGUARD PROPERTIES MANAGEMENT,
  LLC,

       Defendant.
  ________________________/

       DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES AND CORPORATE
                          DISCLOSURE STATEMENT

          COMES NOW, Defendant, SAFEGUARD PROPERTIES MANAGEMENT, LLC, by and

 through its undersigned attorneys files this Certificate of Interested Parties and Corporate

 Disclosure Statement and states as follows:

                         CERTIFICATE OF INTERESTED PERSONS

       1. Jordan S. Cohen, Esq.

       2. Ethan A. Arthur, Esq.

       3. Garrett Moon, Esq.

       4. Wicker, Smith, O’Hara, McCoy & Ford, P.A.

       5. Safeguard Properties Management, LLC

       6. Safeguard Holdings, LLC

       7. KJH Holdings, LLC

       8. ADN Holdings, LLC
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    9. Michael J. Reppas, Esq

    10. The Law Office of Michael J. Reppas, P.A

    11. Turnkey Asset Management & Maintenance, Inc.



                         CORPORATE DISCLOSURE STATEMENT

        Defendant, Safeguard Properties Management, LLC, discloses that there is no publicly held

 corporation that owns ten percent (10%) or more of its membership interests and there are no

 public membership interests of Safeguard Properties Management, LLC. Defendant, Safeguard

 Properties Management, LLC is a privately held company.



        I certify that I am unaware of any actual or potential conflict of interest involving the

 District Judge and Magistrate Judge assigned to this case, and will immediately notify the Court

 in writing on learning of any such conflict.


 Dated: 5/7/2024

                                      Respectfully submitted,


                                      /s/ Jordan S. Cohen____________
                                      Jordan S. Cohen, Esquire (551872)
                                      WICKER SMITH O’HARA
                                        McCOY & FORD, P.A.
                                      515 E. Las Olas Boulevard, Suite 1400
                                      Fort Lauderdale, FL 33301
                                      Telephone:     (954) 847-4800
                                      Facsimile:     (954) 760-9353
                                      Attorneys for Safeguard Properties Management, LLC




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                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with
 the Clerk of Court using the CM/ECF system on May 7, 2024, and the foregoing document
 is being served this day on all counsel or parties of record on the Service List below, either
 via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
 authorized manner for those counsel or parties who are not authorized to receive Notices
 of Electronic Filing.


                                              /s/ Jordan S. Cohen_____
                                              Jordan S. Cohen, Esquire



                                          SERVICE LIST

 Michael J. Reppas, Esq
 The Law Office of Michael J. Reppas, P.A
 Via Email: reppas@reppaslaw.com
 1398 SW 160th Ave Ste 102
 Weston, FL 33326-1988
 Telephone:    (305) 822-8422
 Facsimile:
 reppas@reppaslaw.com




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